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                                                                  Friday, 24 August, 2018 05:32:55 PM
                                                                          Clerk, U.S. District Court, ILCD


                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )       Hearing Requested
                                          )
       Defendant.                         )

         MOTION TO STRIKE NON-STATUTORY AGRRAVATING FACTOR
                 OF “OTHER SERIOUS ACTS OF VIOLENCE”

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and for his Motion to Strike the Non-Statutory Aggravating Factor of Other

Serious Acts of Violence states as follows:

I.     Procedural History

       On July 12, 2017, Defendant BRENDT A. CHRISTENSEN was charged by

Indictment with one count of kidnapping in violation of 18 U.S.C. § 1201(a)(1). (R. 13) A

Superseding Indictment was filed on October 3, 2017, alleging one count of kidnapping

resulting in death in violation of 18 U.S.C. § 1201(a)(1) and two counts of false

statements in violation of 18 U.S.C. § 1001(a)(2). The Superseding Indictment also

contained a Notice of Special Findings listing four gateway intent factors under 18

U.S.C. § 3591(a)(2) and three statutory aggravating factors under 18 U.S.C. § 3592(c):

that Y.Z.’s death occurred during the commission of a kidnapping (Section 3592(c)(1));

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that the defendant committed the offense in an especially heinous, cruel or depraved

manner (Section 3592(c)(6)); and that the defendant committed the offense after

substantial planning and premeditation (Section 3592(c)(9)). (R. 26)

       Count 1 of the Superseding Indictment was a death-eligible charge, and on

January 19, 2018, the government filed its Notice of Intent to seek the death penalty

(NOI). (R. 54) The NOI re-alleged the four intent factors as well as the three statutory

aggravating factors contained in the Superseding Indictment and added six non-

statutory aggravating factors: victim impact evidence, future dangerousness, lack of

remorse, other serious acts of violence, vulnerable victim, and obstruction of justice. (R.

54)

II.    The Evidence of Unadjudicated Conduct that the Government Seeks to
       Introduce in Support of the Other Serious Acts of Violence Aggravator is False
       and Unreliable and its Presentation During a Capital Sentencing Proceeding
       Would Violate the Fifth and Eighth Amendments

       The Eighth Amendment Cruel and Unusual Punishment Clause and the Fifth

Amendment guarantee of due process prohibit the presentation of unreliable evidence

at the penalty phase of a capital trial. Indeed, the Eighth Amendment imposes “a

heightened ‘need for reliability in the determination that death is the appropriate

punishment in a specific case.’” Caldwell v. Mississippi, 472 U.S. 320, 323 (1985) (quoting

Woodson v. North Carolina, 428 U.S. 280, 305 (1976) (plurality opinion)). A capital

sentencing proceeding must also “satisfy the requirements of the Due Process Clause.”

Gardner v. Florida, 430 U.S. 349, 358 (1977). While courts have held that there is no per se

bar on the use of unadjudicated criminal conduct in a capital sentencing proceeding,
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“[t]hat does not mean that such conduct may be considered in all cases.” United States v.

Corley, 519 F.3d 716, 724 (7th Cir. 2008). In determining whether this type of evidence

may be considered in a particular case, a court “must consider a number of factors,

including the reliability of the evidence, the prejudicial and probative impact of the

evidence, and the burden of proof both for determining reliability and for a jury to

determine whether the conduct may be considered.” Id. See also United States v. Beckford,

964 F. Supp. 993, 1000 (E.D. Va. 1997) (holding that “unadjudicated criminal conduct

may be presented to the jury only if the Court has determined that it meets the

threshold test of reliability”); United States v Gilbert, 120 F. Supp. 2d 147, 151 (D. Mass.

2000) (same). Before a court may admit such evidence, it must determine that it is

“sufficient to allow a reasonable jury to find beyond a reasonable doubt” that the

defendant in fact committed the alleged crimes. United States v. Corley, 348 F. Supp. 2d

970, 974 (N.D. Ind. 2004).

       In its NOI, the government states the following with regard to its proposed non-

statutory aggravator:

              4.      Other serious acts of violence. The defendant has
              committed other serious acts of violence including, at least,
              the following: in or about 2013, the defendant choked and
              sexually assaulted M.D., in the Central District of Illinois.

(R. 54 at 3). The government has orally informed defense counsel that the only other

“serious act of violence” that it intends to present in support of this aggravator is Mr.

Christensen’s alleged mistreatment of a guinea pig. Both of these allegations are false


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and unreliable and thus the government is constitutionally and statutorily prohibited

from presenting them in a capital sentencing proceeding.

       A.     The Allegations of Sexual Assault Made Against Mr. Christensen by
              M.D. are False and Unreliable

       The allegations of sexual assault made by M.D. against Mr. Christensen are so

riddled with inconsistency, implausibility and contradictions of objective facts as to be

incredible on their face. M.D. inserted herself into this case on June 30, 2017, the day of

Mr. Christensen’s arrest, by placing a call to the FBI Public Access Line. During that call,

she reported that she had met Mr. Christensen four years previously on the dating site

OKcupid.com. She claimed that they went on a date together to get coffee, following

which Mr. Christensen drove her to a cemetery, choked and threatened her and forced

her to perform sexual acts. Thereafter, Mr. Christensen drove her home and she never

reported what had happened. M.D. stated that she had seen on Facebook that Mr.

Christensen had been arrested for the kidnapping of Yingying Zhang and wanted to

relay her story in case it could be of any assistance in the case.

       Thereafter, M.D. was interviewed by law enforcement officers on four separate

occasions to undersigned counsel’s knowledge. The first was a telephonic interview

conducted on the same day that she called the PAL, June 30, 2017, by Special Federal

Officer Barbara A. Robbins. On July 21, 2017, Special Agents Robert Christian and Karla

Brainerd interviewed M.D. at her home in Denton, Texas. The next interview was on

April 30, 2018, conducted by Special Agent Andrew Huckstadt and DOJ Attorney James


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Nelson at the Denton Police Department. Finally, on May 8, 2018, M.D. telephoned

Agent Huckstedt to provide him with further information she had gleaned from doing

“online research.”

              1. M.D.’s Allegations are False and Refuted by Objective Facts

       Key portions of M.D.’s allegations against Mr. Christensen are readily revealed

to be false by objective and reliable sources of information.

                     a. Mr. Christensen had no OKcupid Account at the time that
                        M.D. says that she met him on the site

       M.D. has told law enforcement on at least three occasions that the alleged assault

occurred in September or October of 2013. However, she has consistently asserted that

the assault happened when she was 17 years old and a senior in high school. M.D.’s age,

her high school yearbook and some of her messages on the OKcupid website establish

that her senior year of high school was the 2012-13 school year. She turned 18 in

December of 2012, and so the alleged assault could only have happened in September

or October of 2012, not 2013.

       M.D. has maintained throughout that she met Mr. Christensen through the

OKcupid dating website. Records subpoenaed by the government from the company

that operates the website reveal that M.D. has had an OKcupid account continuously

since September 21, 2012, the day that she first opened it. However, those same records

show that Mr. Christensen did not sign up to use the site until March 28, 2017. It is

therefore impossible that M.D. could have contacted Mr. Christensen and arranged to

date him via Okcupid in the Fall of 2012.
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                     b. Mr. Christensen was living in Wisconsin when M.D. claims
                        she went on a date with him in Illinois

       Moreover, Mr. Christensen was not even in living in the State of Illinois during

the Fall of 2012. During that period he was an undergraduate student at the University

of Wisconsin in Madison, Wisconsin, taking a full course load and engaging in research

projects for one of his professors. He did not move to Champaign-Urbana until August

of 2013, when he enrolled in the University of Illinois to pursue a Ph.D. in Physics.

                     c. M.D.’s belated admission that she had a Fetlife.com account
                        listing one of her preferences as abduction/rape fantasy, and
                        her deletion of that account before informing law enforcement
                        of its existence, seriously undermines her credibility

       On May 8, 2018, almost a year after she first began speaking with law

enforcement in this case, M.D. called Agent Huckstadt to tell him that “she had been

doing some online research regarding the Yingying Zhang kidnapping case” and had

learned that Mr. Christensen had had an account with Fetlife.com, the self-described

“Social Network for the BDSM, Fetish and Kinky Community.” She told the agent that

she had recognized the profile picture Mr. Christensen had attached to his Fetlife

account, thereby revealing that she herself was a member of the site. Again, this is an

impossibility; Mr. Christensen’s profile picture was not a photograph of him personally,

but rather an image of a piece of artwork. She further admitted, however, that she had

deleted her account on May 4, 2018, four days before making the call to Agent




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Huckstadt. When the agent asked M.D. to try to reinstate the account, she stated that

she was unable to do so.1

       M.D. did admit that one of her listed preferences on her Fetlife account was

“abduction/rape fantasy.” She stated, however, that she did not really fantasize about

such things; rather, it was a way for her to deal with things that had happened to her in

real life, including the alleged assault by Mr. Christensen. This latter assertion is

demonstrably untrue. M.D. opened her Fetlife account on the same day that she opened

her OKcupid account, namely September 21, 2012. Given that she supposedly met Mr.

Christensen on OKcupid after she opened her account, necessarily she opened her

Fetlife account before the alleged assault on her by Mr. Christensen could ever have

taken place.

                       d. M.D. has been diagnosed with major mental illness and has
                          made several other claims of sexual assault in the past

       Undersigned counsel have requested from the government, but have not yet

received, records documenting mental health diagnoses and treatment that M.D. has

undergone. Counsel are therefore not yet aware of the full extent of such evidence that

may exist. However, there are indications in the discovery that has been provided that

M.D. has serious mental health issues. She reported to law enforcement during her

April 30, 2018, interview that she attempted suicide approximately two years

previously and that she has been medicated for Bipolar Disorder. Bipolar Disorder is a


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 Undersigned counsel have requested copies of M.D.’s Fetlife records from the government but have yet
to receive a response.
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major mental illness that can produce symptoms such as inflated self-esteem or

grandiosity, delusions and hallucinations.

       There are also indications, both in documents disclosed by the government and

in documents independently obtained by the defense, that M.D. has a history of making

allegations of sexual assault, none of which appear to have resulted in a conviction of

the alleged perpetrator. On May 10, 2018, when Agent Huckstadt called M.D. to follow

up on her May 8, 2018, call to him, she stated that she had been the victim of another

sexual assault a few months before the alleged assault by Mr. Christensen. M.D.

claimed that the perpetrator of that assault was a grade school teacher who she also

says she met on Okcupid. That she could have been the victim of a true sexual assault

that was the direct result of online dating activities, and then within a few months

resume those same activities including going on a date with a stranger, strains

credulity.

       Undersigned counsel are aware of two additional claims By M.D. that she was

sexually assaulted. On August 3, 2014, in McLean County, IL, M.D.’s boyfriend filed a

missing person report about her when she failed to return home one night. During the

course of making the report, the boyfriend stated that M.D. had told him about a former

boyfriend who had raped her and was now stalking her. M.D. ultimately returned

home unharmed the following day. And on March 19, 2015, M.D. reported to police in

Denton, Texas, that she had been raped by an acquaintance. In sum, the allegations of



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sexual assault by M.D. are utterly incredible and unreliable and the government should

be precluded from presenting evidence of them for any purpose.

                     e. Additional evidence

       At a hearing on this motion, the defense will introduce additional evidence

conclusively establishing that Ms. Downer’s factual account of the circumstances of her

alleged meeting with Mr. Christensen are not true and that she has misrepresented

actions she claimed to have taken after the alleged incident

       B.     The Alleged Maltreatment of a Guinea Pig is Insufficiently Serious to
              be Relevant to the Capital Sentencing Determination

       The alleged maltreatment of a rodent is insufficiently serious to be relevant to the

determination of whether a person should live or die at a capital sentencing proceeding.

“The courts must ensure that the evidence presented to the jury in capital sentencing

hearings is truly worthy of consideration in a decision as grave as this.” Gilbert, 120 F.

Supp. 2d at 149. Aggravating factors must be “‘particularly relevant to the sentencing

decision,’ not merely relevant, in some generalized sense, to whether defendant might

be considered a bad person.” Id. at 150 (quoting Gregg v. Georgia, 428 U.S. 153, 192

(1976)). “Consideration of relatively minor misbehavior, however disturbing, would

undermine the seriousness of the death penalty decision.” Id. at 153 (finding that

alleged acts of scalding a child with hot bath water and assaulting husband with large

kitchen knife lack sufficient gravity to be relevant to capital sentencing). See also United

States v. Pleau, No. 10-184-1 (D.R.I. 2013) (finding that burglary, absent any violence or

threat of violence against a person, is insufficiently relevant to determination of whether
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defendant should live or die; United States v. Basciano, 763 F. Supp. 2d 303, 358 (E.D.N.Y.

2011 (expressing concern that arson-related and assault-related conduct may not rise to

the level of sufficient seriousness to be introduced to a death penalty jury).

       The introduction of evidence concerning alleged maltreatment of a guinea pig,

especially under the mantle of “other serious acts of violence,” is beneath the dignity of

the capital sentencing process. The idea that a jury should be permitted to decide that

one defendant is more deserving of the death sentence than another based upon such a

trivial consideration is constitutionally and statutorily intolerable. The Court should

preclude the government from offering this evidence.

              WHEREFORE, Defendant requests that this Court strike the non-statutory

aggravating factor of other serious acts of violence.

              Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.

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